AO 9l (Rev. 08/09) Criminal Coinplaint

 

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UNITED STATES DISTRICT COURT C tim L@TTE , NC
for the -
Westem District of North Carolina JUN l 4 2018
United States of America ) 'S §:)1Sit'if;:i. COUH
V' ) ` Wcst:: Diatz"ict et NC
) Case No. 3:18-mj- \0'3
)
Ekelyon Sharod BERRY §

 

Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 3/30/2018 in the county of Caldwe|| in the
Western Distiict of North Caro|ina , the defendant(s) violated:

 

 

Coa'e Section O]j“ense Descriptz'on
21 U.S.C. 841 (a) and 841(b)(1)(C) Possession With intent to distribute a mixture and substance containing a
detectable amount of methamphetamine

18 U.S.C. 924(0) Possession of firearms in furtherance of drug trafficking.

18 U.S.C. 922(9)(1) Possession of firearms as a convicted felon.

This criminal complaint is based on these facts:

M Continued on the attached sheet.

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Complainant 's signature

James Winq|er, ATF Specia| Adent
Printea' name and title

SWorn to before me and signed in my presence

Date: 06/14/2018 i BZ '? ,___
ua'g s signature

City and state: Char|ottel North Caro|ina U.S. |\/iaqistrate Judqe David C. Kees|er

Printed name and title

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v ATTACHMENT A:
Aff“ldavit in Support of Criminal Complaint and Arrest Warrant
for Ekelvon Sharod BERRY
I, James Wingler, Special Agent With the Bureau of Alcohol, Tobacco, Firearms and
EXplosives (ATF), being duly sworn and deposed, state as folloWs:
BACKGROUND/INTRODUCTION

l. Your Affiant is an investigator or law enforcement officer of the United States Within
the meaning of Title 18, United States Code, Section 2510(7), that is, an officer of the United
States Who is empowered to conduct investigations of, and to make arrests for, the offenses
enumerated in Title 8, 18, 19, Zl, 31 United States Code and other related offenses

2. I have been a special agent (SA) With the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF), United States Justice Department for over 4 years. I arn currently assigned to
the Charlotte, North Carolina Field Off`ice. My duties involve the investigation of federal firearms
offenses and associated violent crime and narcotics offenses.

3. Prior to serving as an ATF Special Agent, I Was employed With the Iredell County
Sheriff" s Office in Statesville, North Carolina for six years. While With the Iredell County Sheriff" s
Of`fice I Was also assigned as a Task Force Off`icer With ATF for approximately 2 years. Prior to
that position l Was employed as a police officer With the Hickory Police Departrnent in North
Carolina for five and one-half years. ln these positions, l investigated various criminal offenses,
including those related to firearms

4. l have successfully completed the North Carolina Basic LaW Enforcement Training and
numerous hours of training in excess of 1000 hours at various other colleges in the State of North

Carolina through on going in service training l am a graduate of the Federal Lavv Enforcement

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Training Center and the ATF National Academy. l have received additional specialized training for
advanced interviewing techniques and tactical training

5. As a result of my personal participation in the investigation of matters referred to in
this Affrdavit, and based upon reports made to me by other law enforcement officials, I am
familiar with the facts and circumstances of this investigation The information contained in this
Affidavit is provided for the limited purpose of establishing probable cause in support of a
criminal complaint and arrest warrant for Defendant Ekelyon Sharod BERRY; therefore, l
have not included each and every fact known to me concerning this investigation

SYNOPSIS OF INVESTIGATION

6. On March 30, 2018, in Caldwell County, within the Westem District of North
Carolina, the following took place:

7. Law enforcement was on the lookout for the Ford F-lSO belonging to Defendant
Ekelyon Sharod BERRY, because an informant advised that BERRY, a known felon who had
outstanding warrants, was in possession of firearms

8. When law enforcement spotted his F-150 that same day, Defendant BERRY took off
and led law enforcement on a high-speed pursuit, during the course of which, two passengers
bailed from the vehicle, and during which he almost hit two deputies and did hit the hand of a
third deputy. Eventually, he wrecked his vehicle and, while law enforcement attempted to arrest
him, he appeared in two different moments to attempt to obtain one of his firearms In total,
within BERRY’s vehicle, law enforcement seized four firearms, all of which were manufactured
outside the State of North Carolina and, thus, traveled in and affected interstate commerce: One

Stevens model 320 lZ-gauge shotgun (serial number 123065\/), one Marlin/Glenfield model 60

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.22 caliber rifle '(serial number 23313154), one Westernfield .22 caliber rifle (serial number 1
SB836R), and one Springfield model 67 12-gauge shotgun (serial number B045795).

9. Search incident to Defendant BERRY’s arrest, law enforcement seized 13.4 grams of

 

methamphetamine (approximately 130 dosage units, so they were possessed with intent to
distribute), and $330 in U.S. currency in his right front pants pocket. Based on the facts of this
case, BERRY possessed the firearms in furtherance of drug trafficking

10. Defendant BERRY has previously been convicted of Robbery with Dangerous
Weapon, Breaking & Entering in 2011 (so he has a felony - that is, he has been convicted of a
crime punishable by more than one year of imprisonment -- and was prohibited from possessing
firearms on 3/30/2018, because he had not been pardoned and his conviction has not been

expunged), as well as Contempt in 2008.

 

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CONCLUSION

Based upon training, experience, and the facts of this investigation, l submit that there is
probable cause for a criminal complaint against, and arrest warrant for, Defendant Ekelyon
Sharod BERRY, possession with intent to distribute admixture and substance containing a
detectable amount of methamphetamine, a Schedule ll controlled substance, in violation of Title
21, United States Code, Sections 841(a) and 841(b)(1)(C); possession of firearms in furtherance
of drug trafficking, in violation of Title 18, United States Code, Section 924(0); and possession
of firearms as a convicted felon, in violation of Title 18, United States Code, Section 922(g)(1);

therefore, l request that the Court issue the same.

Was Q£?
JAMES wiNGLER
ATF sPEClAL AGENT

AUSA Steven R. Kaafman has reviewed this Aj%davit.
Subscribed and sworn to by me this 14th day of June 2018.

NGT(`.K/'

THE HONORABBEUVID C. KEESLER
UNITED sTATEs MAGrsTRATE JUDGE

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